                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE DIVISION

  UNITED STATES OF AMERICA                               )
                                                         )
         v.                                              )             2:19-CR-96
                                                         )             JUDGE GREER
  LAUREN KATE SMITH,                                     )
    aka “BRITTANY PRINCE”                                )



  TO THE HONORABLE MAGISTRATE OF THE ABOVE COURT:

              PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

         Your petitioner, United States of America, by and through the United States Attorney for

  the Eastern District of Tennessee, respectfully shows:

                                                   I.

         That Lauren Kate Smith, aka “Brittany Prince”, is now in the custody of the Whitfield

  County Detention Center, in Dalton, Georgia, pursuant to a lawful commitment.

                                                   II.

         That there is pending against the defendant, Lauren Kate Smith, aka “Brittany Prince”, in

  this District the above-captioned case, which is set for an Initial Appearance hearing, or for her

  case to be otherwise disposed of upon said indictment heretofore returned against her, on January

  22, 2020, in the United States District Court for the Eastern District of Tennessee, at Greeneville,

  Tennessee, at 9:00 a.m. that day and each day thereafter until said case has been disposed.



         WHEREFORE, petitioner prays that the Clerk of this Court be instructed to issue a writ

  of habeas corpus ad prosequendum to the Jailer, Whitfield County Detention Center, in Dalton,

  Georgia, commanding him to produce the said Lauren Kate Smith, aka “Brittany Prince”, before




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  this Court at the time and place aforesaid for the purpose aforesaid, and that if the said Jailer so

  elects, the United States Marshal for the Eastern District of Tennessee, or any other duly

  authorized United States Marshal or Deputy United States Marshal, be ordered and directed to

  receive said Lauren Kate Smith, aka “Brittany Prince”, into his custody and possession at said

  Whitfield County Detention Center, in Dalton, Georgia, and under safe and secure conduct to

  have her before the Judge of our District Court at the time and place aforesaid for the purpose

  aforesaid, and to return her to said Jailer, Whitfield County Detention Center, in Dalton, Georgia,

  as aforesaid.

         Respectfully submitted, this the 14th day of January, 2020.

                                                 J. DOUGLAS OVERBEY
                                                 UNITED STATES ATTORNEY


                                         By:     s/ Thomas A. McCauley
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